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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
                                        :
             v.                         :    CRIMINAL NO. 3:23-CR-149
                                        :
DAMIEN BOLAND,                          :
ALFRED ATSUS,                           :
JOSEPH ATSUS AND                        :    JUDGE MANNION
NICHOLAS DOMBEK                         :
                                        :
                   Defendants.          :    ELECTRONICALLY FILED

        JOINT REQUEST FOR PRE-TRIAL NOTICE OF ANY
     EVIDENCE THE GOVERNMENT INTENDS TO INTRODUCE
    AT TRIAL PURSUANT TO RULE 404(b)(2) AS TO DEFENDANTS
      DAMIEN BOLAND, ALFRED ATSUS, AND JOSEPH ATSUS

      Defendants Damien Boland, Alfred Atsus, and Joseph Atsus, by and through

their undersigned counsel, respectfully request from the Government pre-trial notice

of any other crimes, wrongs, or acts evidence it intends to introduce at trial in

accordance with Federal Rules of Evidence 404(b)(2).

      Pursuant to the instructions of the Court, Defendants have identified this

Request as being of a common interest to them. Defendants have therefore filed this

Request jointly, in an effort to narrow and focus the issues that are pending before

the Court.
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                                        Respectfully submitted,

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                                        Attorney for Defendant, Alfred Atsus

                                        /s/Matthew L. Clemente
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                                        Attorney for Defendant,
                                        Damien Boland

                                        /s/ Patrick A. Casey
                                        Patrick A. Casey
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                                        Attorney for Defendant, Joseph Atsus
Date: July 12, 2024




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                         CERTIFICATE OF SERVICE

      I, Patrick A. Casey, hereby certify that a true and correct copy of the foregoing

Request for Pre-Trial Notice of Any Evidence the Government Intends to Introduce

at Trial Pursuant to Rule 404(b)(2) was served upon the following counsel of record

via the Court’s ECF system on this 12th day of July 2024:

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                                              /s/ Patrick A. Casey
                                              Patrick A. Casey
